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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 PINK FLOYD (1987) LIMITED,
                                                            Case No.: 1:18-cv-6991
         Plaintiff,
                                                            Judge Manish S. Shah
 v.
                                                            Magistrate Judge Sheila M. Finnegan
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on January 9, 2019 [38], in

favor of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendants:

                  No.                         Defendant
                  561               FUNNYRUI 3C Digital Store Store
                  562                 FUNNYRUI Franchised Store
                  570                Shenzhen RuiXing Factory Store


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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